                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

  UNITED STATES OF AMERICA,                      )
                                                 )
                Plaintiff,                       )
                                                 )
  v.                                             )      No.:    3:19-CR-55-TAV-HBG-2
                                                 )
  JACKSON BROWN,                                 )
                                                 )
                Defendant.                       )


                        MEMORANDUM OPINION AND ORDER

         This criminal matter is before the Court for consideration of the Report and

  Recommendation (“R&R”) entered by United States Magistrate Judge H. Bruce Guyton

  on July 15, 2021 [Doc. 100]. The R&R addresses defendant’s Motion to Suppress

  [Doc. 81]. The government responded [Doc. 84], and Judge Guyton held a hearing on the

  motion on February 19, 2021 [Doc. 85]. After the hearing, defendant filed a post-hearing

  brief [Doc. 92], and the government responded [Doc. 93]. Judge Guyton then issued the

  R&R [Doc. 100], recommending that the Court deny defendant’s motion to suppress.

  Defendant has filed objections to the R&R [Doc. 101], the government has responded

  [Doc. 105], and the matter is now ripe for the Court’s review. See E.D. Tenn. L.R. 7.1(a).

  For the reasons that follow, the Court will OVERRULE defendant’s objections

  [Doc. 101], ACCEPT IN PART the R&R1 [Doc. 100], and DENY defendant’s Motion to

  Suppress [Doc. 81].

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           As discussed infra, the Court declines to adopt Section IV.C of the R&R [Doc. 100,
  pp. 22–24], addressing what evidence would be subject to suppression, if suppression was
  warranted, because the Court finds such analysis unnecessary in light of the magistrate judge’s
  well-reasoned conclusion that suppression is not, in fact, warranted.



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  I.     Background

         The Court presumes familiarity with the facts of this case and will only recite facts

  necessary to the determination of the instant motion. Moreover, the Court notes that the

  parties do not object to the factual basis in the magistrate judge’s R&R, and therefore, the

  Court will adopt the following facts from the R&R [Doc. 100].

         Defendant is charged, along with two codefendants, with carjacking (Count One),

  Hobbs Act Robbery (Count Four), and brandishing a firearm in furtherance of these

  offenses (Counts Two & Five), as well as an individual count of being a felon in possession

  of a firearm and ammunition (Count Three). These charges arise out of the alleged robbery

  of Angelleigha Qualls and Patrick Thompson in their apartment at gunpoint in the early

  morning of November 24, 2018. Defendant and his codefendants allegedly took money,

  jewelry, and other items, and fled in Qualls’s 2013 Ford Fusion. Later that morning,

  defendant was arrested at the home of his father, Jackie Hickey, who subsequently

  consented to multiple searches of his home.

         The magistrate judge made the following factual findings, which, as noted

  previously, are not the subject of any party’s objections.       In the early morning of

  November 24, 2018, Detective Randy Heidle, then of the Rockwood Police Department,

  was called to investigate an armed robbery and theft of a vehicle, from Thompson and

  Qualls. The perpetrator was an unknown male assisted by Coy Potter and Jaret Axell, both

  of whom were known to the victims. The victims reported that the perpetrator took money

  and jewelry and fled in Qualls’s car. Law enforcement tracked the car through an internal

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  tracking device installed by the manufacturer and identified the perpetrator male as

  defendant. The car was located at an apartment complex about one block from the

  residence of defendant’s father, Hickey. Officers arrested defendant in the back bedroom

  of Hickey’s home, after obtaining Hickey’s consent to enter and arrest defendant.

         Around 7:35 a.m., and shortly after defendant’s arrest, Detective Heidle reported to

  the scene of the abandoned car to process it for evidence. Detective Heidle searched the

  car with the victim’s permission and found money in the driver’s floorboard and a gun in

  the center console. Detective Heidle then went to Hickey’s residence, accompanied by

  Captain Pittman, and a local officer. The local officer recognized Hickey as defendant’s

  father. Detective Heidle, who was dressed in plain clothes, was aware that Hickey was

  partially deaf and that he needed to speak loudly to be heard by Hickey. Detective Heidle

  introduced himself and Captain Pittman and said that they were working on the case

  involving defendant. Detective Heidle told Hickey that he wanted consent to search the

  area where defendant was arrested, which he believed was the back bedroom. Hickey gave

  consent for Detective Heidle and Captain Pittman to come inside. The officers searched a

  back room, which was filled with boxes, had a mattress against the wall, and appeared to

  be a storage room, where they found a pair of tennis shoes just inside the door. Hickey

  told them that the tennis shoes belonged to defendant. The officers also found a ten-dollar

  bill in the back yard.




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        Around 1:00 p.m., after reviewing surveillance video at a gas station and eating

  lunch, Detective Heidle and Captain Pittman interviewed defendant at the Rhea County

  Sheriff’s Department. Detective Heidle explained a rights waiver form to defendant, who

  signed the form before the interview. Detective Heidle wrote out defendant’s statement,

  which defendant initialed and signed. Detective Heidle then took custody of two necklaces,

  which were on defendant’s person when he was arrested.

        After interviewing defendant, Detective Heidle returned to the apartment complex

  where law enforcement found the victim’s car. Detective Heidle spoke with a female

  relative of defendant, who lived at the apartment complex, about gold one-dollar coins

  taken in the robbery. The woman told Detective Heidle that Hickey had one of the gold

  one-dollar coins. Detective Heidle and Captain Pittman returned to Hickey’s house and

  Detective Heidle told Hickey that they would like consent to search his residence again,

  because they were told that he may have a gold one-dollar coin taken in the robbery.

  Hickey retrieved the coin and gave it to the officers, telling them that he found it in

  defendant’s shoes.

        Detective Heidle returned to Hickey’s house a third time on November 26, 2018.

  Detective Heidle gave Hickey a consent-to-search form, on which Detective Heidle had

  filled in the address, owner’s name, date, and time. Detective Heidle explained the form

  to Hickey and told Hickey that they wanted to search his home but that he had the right to

  refuse the search. When Detective Heidle asked Hickey to sign the consent form, Hickey

  said that he could not write. Detective Heidle then told Hickey to mark an “X” on the form

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  as his signature. Detective Heidle and Officer Thomas Nelson also signed the form as

  witnesses. Detective Heidle looked around the living room of the home but did not seize

  any evidence. Hickey told Detective Heidle that he had a gold watch that defendant had

  given him. Hickey gave the watch to Detective Heidle.

         On December 19, 2018, Detective Heidle seized defendant’s gray hoodie, worn at

  the time of his arrest, from the Hamilton County Sheriff’s Department, pursuant to a search

  warrant. While there, Detective Heidle and Detective Sledge interviewed defendant a

  second time. Defendant again signed a rights waiver and gave a statement, which Detective

  Heidle wrote out and defendant initialed and signed.

  II.    Standard of Review

         The Court reviews de novo those portions of the R&R to which the defendant has

  objected. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). Accordingly, the Court considers

  the R&R, the motion to suppress, the parties’ underlying and supporting briefs, the

  defendant’s objections, and the government’s response to those objections, all in light of

  the applicable law.

  III.   Analysis

         Defendant raises three objections to the magistrate judge’s R&R. Specifically, he

  objects to the magistrate judge’s findings that: (1) defendant did not have a legitimate

  expectation of privacy in his father’s house to challenge the search at issue; (2) Hickey

  gave valid consent to search the home; and (3) even if the search was improper, only the




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  tennis shoes, ten-dollar bill, gold one-dollar coin, and gold watch are subject to suppression

  [Doc. 101, pp. 6–12].

         A.     Expectation of Privacy

         Defendant first objects to the magistrate judge’s finding that he did not have a

  legitimate expectation of privacy in his father’s house to challenge the search [Doc. 101,

  p. 6]. Defendant notes that the magistrate judge found the record to be devoid of evidence

  that he had a proprietary interest in the residence, lived at the residence, or was an overnight

  guest at the residence [Id. at 7]. However, defendant contends that this does not take into

  consideration that this was a warrantless search, and therefore, was presumptively

  unreasonable [Id.]. Defendant contends that the record in this case is developed enough to

  show that, at a minimum, he was welcome in the home and met the status as an overnight

  guest [Id.]. Specifically, he notes that he was arrested in the back room of the house, which

  is also where his tennis shoes were found, and there is no record that the officers asked

  Hickey if defendant was residing or staying at the house [Id. at 7–8]. Thus, defendant

  contends that the magistrate judge erred in concluding that he was not at least an overnight

  guest in the home, and therefore, held a legitimate expectation of privacy [Id. at 8].

         The Fourth Amendment protects citizens from unreasonable searches and seizures

  by government officials.      See U.S. Const. amend. IV. “The touchstone of Fourth

  Amendment analysis is whether a person has a ‘constitutionally protected reasonable

  expectation of privacy.’” California v. Ciraolo, 476 U.S. 207, 211 (1986) (quoting Katz v.

  United States, 389 U.S. 347, 360 (1967) (Harlan, J., concurring)). Whether an individual

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  has a reasonable expectation of privacy is a two-part inquiry: (1) had the individual

  manifested a subjective expectation of privacy in the object of the challenged search; and

  (2) is society willing to recognize that expectation as reasonable. Id.

         Of relevance, the Supreme Court has held that an individual’s status as an overnight

  guest at a home is sufficient to show that he had a reasonable expectation of privacy in the

  home. Minnesota v. Olson, 495 U.S. 91, 96–100 (1990). Indeed, “[t]he Sixth Circuit has

  generously construed the Fourth Amendment as protecting nearly all overnight guests,

  even when the guest occupies a common area in the apartment that is not private from other

  residents.” United States v. Washington, 573 F. 3d 279, 283 (6th Cir. 2009).

         While there is no direct evidence as to whether or not defendant was an overnight

  guest in Hickey’s home, where the relevant evidence was discovered, defendant’s

  argument appears to be that the government failed to prove that he was not an overnight

  guest, and the magistrate judge merely speculated that defendant was not an overnight

  guest. However, “[a] defendant seeking to claim the protection of the Fourth Amendment

  bears the burden of proving that he had a reasonable expectation of privacy in the object of

  the search.” United States v. Wilson, 984 F. Supp. 2d 676, 681 (E.D. Ky. 2013) (citing

  Rawlings v. Kentucky, 448 U.S. 98, 104 (1980)).

         The only evidence relating to defendant’s potential status as an overnight guest

  presented at the suppression hearing was that: (1) the home was his father’s house;

  (2) defendant was arrested at the house, in the back bedroom; (3) the back bedroom

  appeared to be used for storage, was filled with boxes, and had a mattress against the wall,

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  but did not appear to be a room where someone slept; and (4) a pair of tennis shoes

  belonging to defendant were seized from the back bedroom [Doc. 100, pp. 5–6]. Defendant

  appears to rely solely on the facts that he was arrested in the back bedroom and that his

  tennis shoes were located in the back bedroom as sufficient to establish that he was, at

  least, an overnight guest [Doc. 101, pp. 7–8]. But the Court cannot find that this evidence

  alone is sufficient to show that defendant was at least an overnight guest at the home.

  Rather, at most, this evidence establishes only that defendant had, at some point, been

  permitted to access the back bedroom and left personal belongings there. And, considering

  the testimony that the back bedroom did not appear to be a room where a person slept, and

  instead, appeared to be used for storage, the evidence of defendant’s presence in, and

  storage of items in, the back bedroom carries even less weight in establishing that defendant

  was an overnight guest.

         Accordingly, the Court agrees with Judge Guyton’s conclusion that defendant has

  not established that he was an overnight guest in the residence, and therefore, defendant

  failed to meet his burden of establishing that he had a legitimate expectation of privacy in

  the residence. Defendant’s objection on this ground is OVERRULED.

         B.     Consent to Search

         Next, defendant objects to the magistrate judge’s conclusion that, even if he had an

  expectation of privacy in Hickey’s home, Hickey’s consent to the search overcame the

  presumption that a warrantless search is unreasonable [Doc. 101, p. 8]. Defendant notes

  that Detective Heidle obtained consent to search from a near-deaf man, who he knew for

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  certain could not write, and most likely could not read [Id. at 9]. Defendant argues that,

  viewing the totality of the circumstances, Hickey suffers from learning difficulties and little

  to no education [Id.]. Defendant states that there is “no question” that Hickey was “likely

  confused and felt he had no option but to permit Heidle and company to search” [Id. at

  9–10]. Thus, defendant argues that the government has not met its burden of establishing

  that an exception to the warrant requirement applies, as Hickey’s consent was mere

  acquiescence [Id. at 10].

         It is “well settled that one of the specifically established exceptions to the

  requirements of both a warrant and probable cause is a search that is conducted pursuant

  to consent.” Schneckloth v. Bustamonte, 412 U.S. 218, 219 (1973). When “a prosecutor

  seeks to rely upon consent to justify the lawfulness of a search, he has the burden of proving

  that the consent was, in fact, freely and voluntarily given.” Id. at 222 (internal quotation

  marks omitted) (quoting Bumper v. North Carolina, 391 U.S. 543, 548 (1968)). Whether

  consent to a search is “voluntary” or is the “product of duress or correction . . . is a question

  of fact to be determined from the totality of the circumstances” and while knowledge of

  the right to refuse consent is a factor to consider, the government need not establish such

  knowledge to establish effective consent. Id. at 227.

         Given the facts presented, the Court finds that the government has met its burden to

  establish that Hickey’s consent to search was freely and voluntarily given. Detective

  Heidle admitted that, at the time of his first request to search, he was aware that Hickey




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   was partially deaf, and he would need to speak loudly to be heard. Despite this admission

   regarding Hickey’s hearing, neither Detective Heidle nor any other witness indicated that

   law enforcement had any difficulty communicating their requests to search to Hickey, or

   that Hickey seemed confused at any point by the requests. In fact, the evidence presented

   indicates that officers were able to effectively communicate with Hickey about their

   interest in locating gold one-dollar coins taken in the robbery, and Hickey presented law

   enforcement with one such coin, claiming that he found it in defendant’s shoes. Further,

   law enforcement was able to successfully communicate with Hickey about the

   consent-to-search form, and Hickey was then able to communicate his inability to write.

   Notably, the Court does not find that Hickey’s inability to write (or potentially read) alone

   rendered his consent to the third search invalid when he was specifically orally informed

   that law enforcement was requesting to search his home and in the absence of any other

   indicator that Hickey did not understand the oral request.

          The evidence presented here paints a picture of Hickey as entirely cooperative with

   law enforcement, who consented to searches of his home, knowing that law enforcement

   was searching for evidence of his son’s potential involvement in criminal activity, and even

   offered evidence of a gold one-dollar coin and gold watch to law enforcement, along with

   information about receiving such items from defendant. Ultimately, there is no evidence

   that supports defendant’s speculation that Hickey was “confused” and likely “felt he had

   no option but to permit” the searches [Doc. 101, pp. 9–10]. And the Court cannot conclude




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   that defendant’s speculation about Hickey’s state of mind is sufficient to overcome the

   government’s evidence that Hickey voluntarily consented to each of the searches.

          Accordingly, the Court agrees with Judge Guyton’s conclusion that the government

   has established that Hickey voluntarily consented to the searches of his home, which

   overcomes the presumption that a warrantless search is invalid. Defendant’s objection on

   this ground is OVERRULED.

          C.     Fruit of the “Illegal” Searches

          Finally, defendant objects to the magistrate judge’s conclusion that, even if Hickey

   did not voluntarily consent to the search of the residence, only the tennis shoes, ten-dollar

   bill, gold one-dollar coin, and gold watch are subject to suppression [Doc. 101, p. 10].

   Defendant contends that his statements to law enforcement and the clothing seized pursuant

   to a search warrant must also be excluded [Id.].

          Although the magistrate judge alternatively addressed what evidence would be

   subject to suppression if defendant had a legitimate expectation of privacy in Hickey’s

   home and Hickey’s consent to search was invalid [Doc. 100, pp. 22–24], the Court, having

   found for multiple reasons, explained supra, that no Fourth Amendment violation occurred

   and therefore, no suppression is warranted, finds no need to address the theoretical question

   of what evidence would be subject to exclusion if suppression were warranted.

   Accordingly, the Court will decline to address this objection, and will decline to adopt

   Section IV.C of the R&R, addressing this issue.




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   IV.   Conclusion

         Accordingly, upon a careful and de novo review of the record and the law, the Court

   finds that the recommendations contained in the R&R are correct. Thus, defendant’s

   objections [Doc. 101] are OVERRULED. The Court ACCEPTS IN PART the R&R

   [Doc. 100], which the exception of Section IV.C, and incorporates the accepted portions

   of the R&R into this Memorandum Opinion and Order. The Court hereby DENIES

   defendant’s Motion to Suppress [Doc. 81].

         IT IS SO ORDERED.


                                    s/ Thomas A. Varlan
                                    UNITED STATES DISTRICT JUDGE




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